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          IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF OHIO
                    EASTERN DIVISION


 Nathan Roberts and Freedom Truck
 Dispatch LLC, on behalf of themselves
 and all others similarly situated,

                        Plaintiffs,
                                                Case No. 1:23-cv-01597
 v.

 Progressive Preferred Insurance
 Company, et al.

                        Defendants.


                  MOTION OF JONATHAN F. MITCHELL
                    FOR ADMISSION PRO HAC VICE
      Attorney Jonathan F. Mitchell, counsel for the plaintiffs and their proposed class,
respectfully moves for admission pro hac vice. Mr. Mitchell has attached to this
motion the affidavit required by Local Rule 83.5(h).

                                              Respectfully submitted.

                                               /s/ Joseph P. Ashbrook
 J F. M*                        J P. A
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   pending
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 Dated: August 16, 2023                       the Proposed Class
